AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                  for thH_                                         FILED IN THE
                                                                                                               U.S. DISTRICT COURT
                                                     Eastern District of Washington                      EASTERN DISTRICT OF WASHINGTON


         FAYE IRENE GUENTHER, an individual,                                                              Apr 29, 2025
                                                                     )                                        SEAN F. MCAVOY, CLERK

                             Plaintiff                               )
                                v.                                   )       Civil Action No. 2:22-CV-0272-TOR
  JOSEPH H. EMMONS, individually, and OSPREY                         )
FIELD CONSULTING LLC, a limited liability company,                   )


                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

u the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

u the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: Defendants’ Motions for Attorney’s Fees and Costs, ECF No. 138, is DENIED.
u
              Costs in the amount of $18,147.39 are imposed against Plaintiff in favor of Defendants.
              Judgment entered in favor of Defendants.



This action was (check one):
u tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

u tried by Judge                                                                          without a jury and the above decision
was reached.

✔
u decided by Judge               Thomas O. Rice




Date: 4/29/2025                                                            CLERK OF COURT

                                                                            SEAN F. McAVOY

                                                                            s/ Lee Reams
                                                                                           %\ Deputy Clerk

                                                                            Lee Reams
